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 EXHIBIT N
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                                                                     Page 1

1             IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF GEORGIA
2                          ATLANTA DIVISION
3
4       ALPHA PHI ALPHA FRATERNITY,
        INC., a nonprofit organization
5       on behalf of members residing
        in Georgia, et al.,
6
                Plaintiffs,                                 CASE NO.
7                                                           1:21-CV-05337-SCJ
        vs.
8
        BRAD RAFFENSPERGER, in his
9       official capacity as Secretary
        of State of Georgia,
10
                Defendant.
11
12
13         VIDEOTAPED DEPOSITION OF JOHN R. ALFORD, Ph.D.
14                    APPEARING REMOTE FROM
15                       ATLANTA, GEORGIA
16
17                            FEBRUARY 27, 2023
18                            10:01 A.M. EASTERN
19
20
21      Reported By:
22      Judith L. Leitz Moran
23      RPR, RSA, CCR-B-2312
24      APPEARING REMOTELY
25

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1              Q      -- area?
2                     Sorry.
3              A      Sorry, that was my fault.
4              Q      No, no, go ahead.
5              A      But the answer is, yes, they are
6       supporting different --
7                     MR. JACOUTOT:         I'm going to object to
8       form for that.         Sorry, I'm a little late but...
9                     MR. MILLER:        Okay.       Let me -- let me
10      reask it.      I may draw the same objection.
11                    MR. JACOUTOT:         Okay.
12      BY MR. MILLER:
13             Q      But in -- in Appendix A2, are Black
14      voters and white voters cohesively supporting
15      different candidates?
16                    MR. JACOUTOT:         Object to form.
17             A      Okay.     So, yes, here I think, again, by
18      any reasonable definition these are -- both cases
19      are mostly above 90 percent.                 They're supporting
20      different candidates, they're supporting them
21      cohesively, and as a consequence the voting is
22      polarized.
23      BY MR. MILLER:
24             Q      Okay.     And would you say that the -- how
25      would you describe the degree of polarization in

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1       the elections in Appendix A2?
2                    MR. JACOUTOT:         Object to form.
3              A     I'd describe it as polarized.
4       BY MR. MILLER:
5              Q     Would you say that it is starkly
6       polarized in Appendix A2?
7                    MR. JACOUTOT:         Object to form.
8              A     I -- I mean, I don't know.             I -- it's --
9       again, the numbers speak for themselves.                 It's -- I
10      think it's clearly -- this is clear polarization.
11                   This is what polarization looks like
12      when, you know, 90 percent of a group -- one group
13      goes one way and 90 percent goes the other.
14                   This is what polarization looks like in
15      Congress when 90 percent of the Republicans vote
16      one way and 90 percent of the Democrats vote the
17      other.
18                   It's not perfectly polarized or as
19      sometimes as you know from reporting on Congress
20      if -- if 12 percent of the Republicans in Congress
21      crossed over to vote with the Democrats, some
22      people would label that a bipartisan piece of
23      legislation because it actually drew more than one
24      person from the other side.               So there is
25      polarization worse than this and we've seen it.

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1                    But in terms of voter polarization, this
2       is exactly -- this is unambiguous, the two groups
3       are voting cohesively in different directions and
4       they're doing so in an obvious pattern, right, that
5       the Democrat -- the Republicans -- I'm sorry, the
6       Black voters are voting overwhelmingly Democratic
7       in this area, white voters are voting
8       overwhelmingly Republican.
9                    And so we can look down the list and each
10      time we see that exact result, that -- that -- that
11      is what's happening here.             It's a very high degree
12      of partisan polarization.
13      BY MR. MILLER:
14             Q     Do you also see in this appendix Black
15      voters cohesively supporting the Black candidate?
16             A     Well, we can see in the first election
17      they're supporting a Black candidate.
18                   Interestingly enough, at 98.5 percent
19      they're supporting Warnock.               And then you have
20      another Black candidate that's getting 1 percent of
21      the vote.      So that's -- again, the Black vote is --
22      within the Black vote it's polarized in favor of
23      the Democratic candidate.
24                   Black voters --
25             Q     And just to make sure that we're on the

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1       same page here, which -- which election are --
2       okay, so you're looking at either the 20 -- are you
3       looking at the first election?                 I just want to make
4       sure that we're --
5              A     No.
6              Q     -- we're talking about the same thing,
7       the 2022 U.S. Senate with a Black --
8              A     So A2 -- the first election in A2, 2022
9       General --
10             Q     Okay.
11             A     -- Warnock and Walker.
12             Q     Okay.     And so here you have -- you have
13      cohesive support by Black voters for a Black
14      candidate, right?
15             A     Correct.      And not for the other Black
16      candidate.      They're polarized in this election by
17      party.
18             Q     Okay.
19             A     Black voters are polarized by party.
20             Q     Okay.
21             A     And then if you drop down to the 2021
22      U.S. Senate Election, Ossoff/Perdue, you have two
23      white candidates.        And you'll notice the exact same
24      result, right, 98.9 against 1.1, right?
25                   So, again, Black voters are polarized

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1       here in favor of the Democratic candidate in spite
2       of the fact that the Democratic candidate is white
3       and there is no Black candidate here.
4                    So, yeah, there's -- there is no evidence
5       here of -- of a racial effect.                 And so probably
6       that racially polarized voting in my view is -- is
7       an overstatement.
8                    And -- and if you sort of carefully
9       exclude, which a definition of using only racially
10      contested elections would do, right, the two
11      elections we've talked about, Herschel
12      Walker/Warnock and Ossoff/Perdue are not racially
13      contested elections, they don't belong in this
14      table.
15                   But by her definition when you would take
16      them out, you would be able to go through that
17      entire table and show that in every case the voting
18      was polarized with regard to the race of the
19      candidate.
20                   And that's just -- right, that's just
21      misleading because as we can see when we see the
22      Ossoff/Perdue contest or the Warnock/Walker
23      contest, we see the exact same result.
24                   And again, what that shows us is that
25      this is polarized by party consistently and not

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1       by -- it's only by -- by cutting out of the table
2       everything that suggests that there's a party
3       influence that's different than the -- than the
4       racial influence that allows you to say what you
5       were -- I mean, your question was, doesn't this
6       show that Black voters are voting cohesively for
7       Black candidates?
8                      And the answer is when they are the
9       Democrat they are and when they're not the Democrat
10      they -- it makes no difference at all, right?
11                     It's just this is just highly polarized
12      partisan voting irrespective of the race of the
13      candidates.
14             Q       Is there -- Doctor, did you --
15             A       That's what those two Senate races tell
16      you.       That's what -- those two Senate races are --
17      they're recent.        They're extremely high profile.
18      Everybody knew the race of the candidates, I
19      suspect.       Everybody knew the party of the
20      candidates.
21                     They're just -- that's -- all you need is
22      to look at those two contests and they tell you
23      unambiguously what this voting pattern is about.
24      And particularly, they're telling you unambiguously
25      what you can't attribute this to.

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